               Case 5:14-cv-00339-M Document 1 Filed 04/08/14 Page 1 of 4



                        IN THE UNITED STATES DISTRICT COURT
                      FOR THE WESTERN DISTRICT OF OKLAHOMA

PAMELA RANDALL,                              )
                                             )
                 Plaintiff,                  )
                                             )
v.                                           )   Case No. CIV-14-339-M
                                             )
GUIDEONE MUTUAL                              )
INSURANCE COMPANY,                           )
                                             )
                 Defendant.                  )

                                NOTICE OF REMOVAL

          Defendant, GuideOne Mutual Insurance Company (“Defendant”), pursuant to 28

U.S.C. § 1441 et seq., and LCvR 81.2 of the United States District Court for the Western

District of Oklahoma, hereby files its Notice of Removal. In further support, Defendant

states:

          1.     The above styled case was commenced in the District Court of Oklahoma

County, State of Oklahoma, and is now pending in that Court. Process was served on

Defendant by certified mail to the Oklahoma Insurance Commissioner on February 19, 2014.

A copy of Plaintiff’s Petition is attached as E XHIBIT 1. A copy of the Entry of Appearance

of Greg Haubrich and David Teasdale is attached as E XHIBIT 2. A copy of the Summons

served on GuideOne through the Oklahoma Insurance Commissioner is attached as E XHIBIT

3. A copy of the Summons served on Miller Trucking, LLC, through James Miller is

attached as E XHIBIT 4. A copy of the First Amended Petition is attached as E XHIBIT 5. A

copy of the Special Entry of Appearance and Reservation of Time in which to Further
            Case 5:14-cv-00339-M Document 1 Filed 04/08/14 Page 2 of 4



Answer or Plead by Miller Trucking, LLC, is attached as E XHIBIT 6. A copy of the Alias

Summons served on Defendant through the Oklahoma Insurance Commissioner is attached

as E XHIBIT 7. A copy of the Entry of Appearance of Michael Woodson and Stephanie

Khoury for Defendant is attached as E XHIBIT 8. A copy of Defendant’s Answer is attached

as E XHIBIT 9. A copy of the Dismissal without Prejudice of Miller Trucking, LLC, is

attached as E XHIBIT 10. A copy of the Oklahoma County Docket Sheet is attached as

E XHIBIT 11.

       2.      While not specifically pled in the Petition, to the best of Defendant’s

information and belief, Plaintiff was at all pertinent times a resident of Oklahoma County,

State of Oklahoma. See E XHIBIT 12 Declarations page.

       3.      Defendant, GuideOne Mutual Insurance Company, is an Iowa Corporation

doing business in the State of Oklahoma.

       4.      Complete diversity of citizenship exists between the parties.

       5.      This action is one of a civil nature in which the District Courts of the United

States have original jurisdiction pursuant to 28 U.S.C. § 1332, said action having been

brought by the Plaintiff against the Defendant for money damages arising from the alleged

negligence of Defendant.

       6.      Plaintiff’s claim is seeking damages in excess of $75,000.00. See

Correspondence from Plaintiff’s Counsel dated March 26, 2014 attached as E XHIBIT 13.




                                              2
           Case 5:14-cv-00339-M Document 1 Filed 04/08/14 Page 3 of 4



       WHEREFORE, for the reasons set forth herein, GuideOne Mutual Insurance

Company respectfully submits that the requirements for removal have been satisfied, as

complete diversity of citizenship exists, and the amount in controversy exceeds $75,000.00.


                                                 Respectfully submitted,




                                                 s/ Stephanie L Khoury
                                                 Michael Woodson, OBA No. 16347
                                                 Stephanie L. Khoury, OBA No. 22661
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                                                 ATTORNEYS FOR DEFENDANTS




                                            3
           Case 5:14-cv-00339-M Document 1 Filed 04/08/14 Page 4 of 4



                              CERTIFICATE OF SERVICE

        This is to certify that on April 8, 2014, I electronically transmitted the above document
to the Clerk of the Court using the ECF System for filing. Based on the records currently on
file, the Clerk of the Court will transmit a Notice of Electronic Filing to the following ECF
registrants:

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ATTORNEYS FOR PLAINTIFF

                                                    s/ Stephanie L Khoury
                                                    For the Firm




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